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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

          Plaintiff,

          v.

ROBERT F. KENNEDY, JR., in his official capacity,
and U.S. DEPARTMENT OF HEALTH AND
                                                                Case No. 1:24-cv-3188-RC
HUMAN SERVICES,

and

THOMAS J. ENGELS, in his official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

          Defendants.


                                            ORDER

          Upon consideration of the February 28, 2025 unopposed Motion for Leave to File Amicus

Brief in Support of Defendants, filed by the American Hospital Association, the National

Association of Children’s Hospitals, Inc., d/b/a Children’s Hospital Association, the Association

of American Medical Colleges, and America’s Essential Hospitals, and the entire record herein, it

is hereby, for good cause shown:

          1.      ORDERED that the February 28, 2025 Motion for Leave to File Amicus Brief in

Support of Defendants, filed by the American Hospital Association, the National Association of

Children’s Hospitals, Inc., d/b/a Children’s Hospital Association, the Association of American

Medical Colleges, and America’s Essential Hospitals shall be and hereby is GRANTED; and it is

further
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        2.      ORDERED that the American Hospital Association, the National Association of

Children’s Hospitals, Inc., d/b/a Children’s Hospital Association, the Association of American

Medical Colleges, and America’s Essential Hospitals shall be and hereby are GRANTED LEAVE

to file an amicus brief in support of Defendants; and it is further

        3.      ORDERED that the Clerk shall cause the amici curiae brief attached to the

February 28, 2025 Motion for Leave to File Amicus Brief in Support of Defendants, filed by the

American Hospital Association, the National Association of Children’s Hospitals, Inc., d/b/a

Children’s Hospital Association, the Association of American Medical Colleges, and America’s

Essential Hospitals to be filed and entered on the docket in the above-captioned proceeding; and

it is further

        4.      ORDERED that the Clerk shall cause copies of this Order to be delivered to all

parties of record.


        So ORDERED this ___________ day of _________________, 2025



                                               _______________________________
                                               Hon. Rudolph Contreras
                                               Judge




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